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                         UNITED STATES DISTRICT COURT
                                 DISTRICT OF OREGON
                                       Medford Division
In re the Matter of J.P. and E.P.:
                                                   Case No.: 1:24-cv-00648-AA
ARNAUD PARIS,
              Petitioner,
                                                   RESPONDENT’S MOTION TO STRIKE
       and                                         OR, IN THE ALTERNATIVE, FOR
                                                   EXTENSION OF TIME
HEIDI MARIE BROWN,
              Respondent.

                    The Convention on the Civil Aspects of International Child Abduction
                                    Done at the Hague on 25 Oct 1980
                     International Child Abduction Remedies Act, 22 USC § 9001 et seq.

       Respondent Heidi Brown, by and through her attorneys, Katelyn D. Skinner, Katrina
Seipel, and Buckley Law, PC, hereby moves this Court for orders striking the document
titled “Petitioner’s Response to Respondent’s Reply to Initial Petition” (hereinafter
“Petitioner’s Response”) filed by Petitioner on June 21, 2024 and granting her Motion to
Dismiss Petition for Return of Children based on the fugitive disentitlement doctrine. In the
alternative, Respondent respectfully requests that the Court grant her additional time to reply
in substance to Petitioner’s Response.


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                                         ARGUMENT
       On May 28, 2024, Respondent filed a Motion to Dismiss Petition for Return of
Children pursuant to the fugitive disentitlement doctrine, and the Motion was served on
Petitioner the same day. Pursuant to LR 7-1(e)(1), Petitioner had 14 days to file a response to
Respondent’s Motion to Dismiss, unless the Court shortened or extended the time, which
the Court did not do in this instance. Thus, Petitioner’s deadline to file a response was June
11, 2024. Petitioner did not abide by this deadline. He did not file a motion asking for an
extension of time. Instead, he improperly sent emails to Court staff to “update” the Court of
his timeline—the timeline he himself created and imposed. Then, on June 21, 2024, a full 10
days late, he filed his Response.
       Additionally, in filing his Response, Petitioner did not comply with LR 10-6, nor did
he comply with LR 7-2. Both rules direct that non-discovery motions and responses to the
same may be no more than 35 pages or 11,000 words long. Petitioner’s Response is 126
pages long, almost 4 times longer than the rules permit. Further, in exceeding the 35-page
limit, Petitioner did not certify compliance with the word count limit as required by LR 7-2
(because he was not in compliance). Again, Petitioner did not file a motion asking for
permission to disregard these rules. Instead, he made his own rule that it would be okay to
ignore the rules all other litigants are required to abide by.
       Where Respondent argues in her Motion to Dismiss that Petitioner does not believe
the rules of our courts apply to him, unless such rules benefit him, Petitioner’s failure to
comply with LR 7-1, LR 10-6, and LR 7-2 are just additional examples and direct evidence of
Petitioner’s disregard of rules and disrespect for United States courts. This Court must not
stand for such behavior and actions any longer.
       Relying once more on the arguments made in her Motion to Dismiss and the short
arguments above, Respondent respectfully requests that this Court strike Petitioner’s


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Response for being untimely, for Petitioner’s utter failure to follow the rules, and pursuant
to the fugitive disentitlement doctrine, and she asks for an immediate ruling on her Motion
to Dismiss.
       Alternatively, in the event the Court is disinclined to rule in this manner, Respondent
requests an extension of time to reply in substance to Petitioner’s Response, pursuant to
FRCP 6(b). Where LR 7-1 sets forth a 14-day timeline in which Respondent must file a
reply, the 14-day timeline assumes that one is replying to no more than 35 pages. Because
Petitioner’s Response is almost 4 times that length, not including his 83 exhibits, Respondent
requests 4 times longer to reply. Respondent respectfully requests a deadline to reply of
August 16, 2024.
Respectfully submitted this 25th day of June, 2024.



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                              CERTIFICATE OF SERVICE
       I certify that this document was served by e-mail and first-class U.S. mail upon
Petitioner Arnaud Paris, to arnaud@skyvr.com and aparis@sysmicfilms.com, and to his last
known address of 13 rue Ferdinand Duval, 75004, Paris, France on this 25th of June, 2024.




                                                   Katrina Seipel, OSB No. 164793
                                                   Of Attorneys for Respondent
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